      Case:19-05002-MJK Doc#:9 Filed:05/10/19 Entered:05/10/19 13:44:17                                       Page:1 of 1
                            UNITED STATES BANKRUPTCY COURT
                                               Southern District of Georgia

In the matter of:

Paul Darshan Sharma
Chapter 7 Case No. 18−50834−MJK
       Debtor(s)

The Kaspers Firm, LLC
Edward Scott
Debbie Richards
       Plaintiff(s)
                                                               Adversary Proceeding
vs.                                                            No. 19−05002−MJK
Paul Darshan Sharma
       Defendant(s)

Tyler B. Kaspers, served via electronic notice

                                      NOTICE OF DEFECTIVE COMPLAINT OR PLEADING

Additional action is required on the captioned Complaint/Responsive Pleading which you have filed:

                   Fee not paid. Filing fee of $ due. Filing fee must be in the form of cash, money order or certified check and
                   made payable to Clerk, U.S. Bankruptcy Court. Attorney filers shall pay electronically through Pay.gov using the
                   docket event Bankruptcy > Miscellaneous > Adversary Fee.


                   The caption does not comply with Bankruptcy Rule 7010.

                   The B−1040 Adversary Proceeding Cover Sheet has not been submitted. Form enclosed.

                   Original signature required on all pleadings.

                   The underlying case has been closed. If you wish to pursue your complaint, please comply with Bankruptcy
                   Rule 5010 by filing a Motion to Reopen and pay the applicable fee to reopen a case.

                   Your Responsive Pleading has been filed in the above−styled case. Under the law, individuals may file
                   pleadings, appear in court and represent themselves, but corporations and partnerships are prohibited. For your
                   further information, attorneys not admitted to practice in the Southern District of Georgia must comply with local
                   rules to be admitted pro hac vice.

                   Local Rule 7.1.1 requires that a Disclosure Statement be filed by counsel for all private (non−governmental)
                   parties, both Plaintiff and Defendant. Please submit the Statement as required. Attorney filers should docket the
                   form using the event Adversary > Miscellaneous > Disclosure Statement pursuant to LR 7.1.1.

                 Failure to use Local Rule 7.1.1 Disclosure Statement Form. You may obtain a copy of the form on the courts
                 website, www.gasb.uscourts.gov, under Forms> Local Forms> Disclosure StatementLocal Rule 7.1.1. Please
                 complete the Local Rule 7.1.1 Disclosure Statement on the correct form, and refile with the Clerks Office.
Failure to comply with this notice, on or before 5/17/19 , will subject your complaint/responsive pleading to dismissal by the
court.

                                                                                   Lucinda Rauback, CLERK
                                                                                   United States Bankruptcy Court
                                                                                   801 Gloucester St, Rm 314
                                                                                   Brunswick, GA 31520
Dated May 10, 2019
A−02[Rev. 12/15] VWW
